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1    THOMAS A. JOHNSON, #119203
     KRISTY M. KELLOGG, #271250
2    Law Office of Thomas A. Johnson
     400 Capitol Mall, Suite 1620
3
     Sacramento, California 95814
4    Telephone: (916) 422-4022
     Attorneys for Matthew Gillum
5
6
                         IN THE UNITED STATES DISTRICT COURT
7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,                 )   Case No. 2:13-cr-00393-MCE
10                                             )
                  Plaintiff,                   )
11                                             )   STIPULATION AND ORDER FOR
           vs.                                 )   CONTINUANCE OF JUDGMENT AND
12                                             )   SENTENCING
     MATTHEW GILLUM,                           )
13                                             )
                  Defendant                    )
14                                             )
15
16         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for February 19, 2015, at 9:00 a.m. is continued to
18   May 28, 2015, at 9:00 a.m. in the same courtroom. Probation has also been informed of
19   the continuance request. Defendant needs additional time to prepare for sentencing and
20   requested a continuance.
21   ///
22   ///
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1    Justin Lee, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s
2    attorney, agree to this continuance.
3
4    IT IS SO STIPULATED.
5
     DATED: March 23, 2015                         By:    /s/ Thomas A. Johnson
6                                                         THOMAS A. JOHNSON
                                                          Attorney for Matthew Gillum
7
8
9
10   DATED: March 23, 2015                                BENJAMIN B. WAGNER
                                                          United States Attorney
11
                                                    By:    /s/ Thomas A. Johnson for
12                                                        JUSTIN LEE
                                                          Assistant United States Attorney
13
14
            IT IS SO ORDERED.
15
16   Dated: March 24, 2015
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5
                            IN THE UNITED STATES DISTRICT COURT
6
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
7
8    UNITED STATES OF AMERICA,                      )   Case No. 2:13-cr-00393-MCE
                                                    )
9                  Plaintiff,                       )
                                                    )   MODIFICATION OF SCHEDULE FOR
10          vs.                                     )   PRE-SENTENCE REPORT AND FOR
                                                    )   FILING OF OBJECTIONS TO THE PRE-
11   MATTHEW GILLUM,                                )   SENTENCE REPORT
                                                    )
12                 Defendant                        )
                                                    )
13
14
     Judgment and Sentencing date:                             May 28, 2015
15
     Reply or Statement                                        May 21, 2015
16
17   Motion for Correction of the Pre-Sentence
     Report shall be filed with the court and                  May 14, 2015
18   served on the Probation Officer and opposing
19   counsel no later than:

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